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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 RAFFIQUE N. KHAN,

                                             Plaintiff,                        OPINION & ORDER

                  v.                                                           24-CV-2168
                                                                               (Ross, J.)
 NEW YORK CITY, et al.,                                                        (Marutollo, M.J.)

                                             Defendants.
 ---------------------------------------------------------------------
                                              x
 JOSEPH A. MARUTOLLO, United States Magistrate Judge:

          Plaintiff Raffique N. Khan brings this action alleging, inter alia, violations of his

 constitutional rights arising from a traffic stop, arrest, and the subsequent seizure of his firearm by

 members of the New York City Police Department. See Dkt. Nos. 1, 48. Plaintiff asserts that his

 arrest lacked probable cause, was motivated by racial profiling, and reflects systemic

 discrimination against people of color, particularly in the enforcement of firearm laws. See Dkt.

 Nos. 1, 48.

          Currently before the Court is a motion to withdraw as counsel and to affix a retaining lien

 and charging lien filed by Plaintiff’s attorneys, Cory H. Morris of the Law Offices of Cory H.

 Morris and Victor John Yannacone, Jr. of Yannacone & Yannacone PC (together, “Outgoing

 Counsel”). See Dkt. No. 70. For the reasons explained below, Outgoing Counsel’s motion is

 GRANTED in part and DENIED in part.

 I.       Background

          Plaintiff, represented by Outgoing Counsel, commenced this lawsuit on March 25, 2024,

 alleging violations of 42 U.S.C. §§ 1981, 1983, 1985, and 1986, as well as the Second, Fourth, and

 Fourteenth Amendments to the United States Constitution. See Dkt. No. 1. Plaintiff’s complaint

 names the City of New York, the Mayor of the City of New York Eric Adams, former NYPD
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 Commissioner Edward Caban, current Deputy Commissioner Michael Gerber, Inspector Rohan

 Griffith, Officer Matthew Bessen, and Officer Joseph Astarita as defendants (collectively,

 “Defendants”). 1 Id. The complaint asserts municipal liability under Monell v. Dep’t of Soc. Servs.

 of City of New York, 436 U.S. 658 (1978), citing alleged failures to train and supervise NYPD

 officers. Id.

         Plaintiff filed an amended complaint on May 21, 2024. See Dkt. No. 17.

         On July 25, 2024, the parties appeared before the undersigned for an initial conference, and

 the Court set a fact discovery deadline of November 15, 2024. 2 See July 25, 2024 Dkt. Entry. On

 September 23, 2024, the Court stayed discovery on Plaintiff’s Monell claims pending resolution

 of Defendants’ anticipated motion to dismiss. See Sept. 23, 2024 Dkt. Entry.

          On October 2, 2024, the Court granted Plaintiff leave to file a second amended complaint,

 which named additional NYPD officers as defendants. See Dkt. No. 48.

         On October 17, 2024, the Court set a briefing schedule for Defendants’ partial motion to

 dismiss, which seeks dismissal of Plaintiff’s claims for violations of the equal protection clause

 under 42 U.S.C. § 1981, for municipal liability under 42 U.S.C. § 1983, for conspiracy under 42

 U.S.C. §§ 1985 and 1986, and for the appointment of a monitor. See Dkt. No. 40. Defendants do



 1
   As Defendants correctly note, “Plaintiff named then-NYPD Commissioner Edward A. Caban as a
 defendant in his official capacity as Police Commissioner. The current Police Commissioner is Jessica
 Tisch, appointed on November 20, 2024. Pursuant to [Fed. R. Civ. P.] 25(d), the successor of a public
 officer is automatically substituted as a party when the originally named public officer “ceases to hold office
 while the action is pending.” Dkt. No. 62. “When a government official is sued in an official capacity and
 subsequently leaves office, the official’s successor is automatically substituted. See Fed. R. Civ. P. 25(d).”
 Marciano v. de Blasio, 589 F. Supp. 3d 423, 426 (S.D.N.Y. 2022), appeal dismissed sub nom. Marciano v.
 Adams, No. 22-570-CV, 2023 WL 3477119 (2d Cir. May 16, 2023), cert. denied, 144 S. Ct. 286 (2023).
 The Clerk of the Court is therefore directed to update the docket accordingly to replace former
 Commissioner Caban with Commissioner Tisch.
 2
  By Order dated November 18, 2024, the Court extended the fact discovery deadline for Plaintiff’s non-
 Monell claims until January 17, 2025. See Dkt. No. 69.


                                                       2
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 not seek dismissal of Plaintiff’s causes of action for denial of his Second Amendment rights under

 42 U.S.C. § 1983 and for false arrest and imprisonment under 42 U.S.C. § 1983. See Dkt. No. 40.

 Defendants’ partial motion to dismiss is set to be fully briefed by January 6, 2025. See Oct. 17,

 2024 Dkt. Entry.

        On November 17, 2024, Outgoing Counsel filed the instant motion to withdraw as counsel

 and to affix a retaining lien and charging lien pursuant to New York Judiciary Law § 475. See Dkt.

 No. 70. Outgoing Counsel claim that they have an “irreconcilable conflict[]” with Plaintiff,

 stemming, in part, from their fundamental disagreement with how Plaintiff should respond to

 Defendants’ Fed. R. Civ. P. 68 offer of judgment. See Dkt. No. 70 at 7-10; Dkt. No. 76 ¶¶ 2, 8, 16-

 22. Outgoing Counsel claim that Plaintiff has “refus[ed] to cooperate and work” with them to

 “understand[] the Rule 68 Offer of Judgment by the Defendants and records necessary to

 substantiate damages,” and they indicate that Plaintiff has retained new counsel, Todd D.

 Greenberg of Addabbo & Greenberg, whom they believe is giving Plaintiff bad advice. See Dkt.

 No. 70 at 7-10, 13; see also Dkt. No. 76 ¶¶ 2, 8, 16-22. Outgoing Counsel explains that

 “[c]ommunication broke down once counsel for Plaintiff explained the consequences of a Rule 68

 Offer of Judgment and the difference between a Rule 68 offer and what Attorney Todd Greenberg

 has continued to characterize as a ‘settlement’ offer.” Dkt. No. 70 at 8.

        On November 18, 2024, the Court entered the following Order:

                ORDER re 68 . Plaintiff’s counsel has moved to withdraw from this
                case and seeks an order imposing a retaining lien and charging lien.
                By November 20, 2024, Plaintiff’s counsel shall supplement their
                motion to address: (1) the basis for withdrawal pursuant to Local
                Civil Rule 1.4 and the accompanying case law in this district, see
                Loc. Civ. R. 1.4; see also Schwartz v. AMF Bowling Ctr., Inc., No.
                19-CV-7096 (WFK) (JAM), 2024 WL 3912303, at *3 (E.D.N.Y.
                Aug. 23, 2024) (discussing standard for withdrawal); (2) the legal
                and factual grounds for their requests for retaining and charging
                liens under New York law; and (3) clarification of the specific

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                    amount of the charging liens sought. In particular, the court notes
                    that Mr. Yannacone seeks a charging lien in the amount of
                    $156,327.83, but Mr. Morris has not specified an amount or
                    provided billing records to support his request. Defendants shall
                    respond to the motion to withdraw by November 25, 2024.

                    By November 25, 2024, Plaintiff shall submit a letter addressing: (1)
                    his position on counsel’s motion to withdraw; and (2) whether he
                    intends to retain Attorney Greenberg, engage new counsel, or
                    proceed pro se. Plaintiff shall provide his letter to Mr. Morris and
                    Mr. Yannacone, who are directed to file it on ECF on the same day.

                    Mr. Morris is directed to serve a copy of this order and all
                    subsequent filings on Plaintiff by email. Additionally, Mr. Morris
                    shall serve a copy of this order on Attorney Greenberg. If Attorney
                    Greenberg has been retained as counsel for Plaintiff in this case, he
                    shall file a notice of appearance by November 25, 2024.

 Nov. 18, 2024 Dkt. Entry.

           On November 25, 2024, Plaintiff wrote a letter to the Court wherein he indicated that he

 would like to terminate Outgoing Counsel “because they have abandoned by case and my wishes

 as their client.” Dkt. No. 75-2 at 1. 3 Elaborating further, Plaintiff states, “I am terminating this

 relationship because I started to feel a great deal of pressure to settle the case after we received the

 Rule 68 settlement offer.” Id. Plaintiff indicates that, “[t]he settlement offer is not in my best

 interest, and I will not accept it, due to this decision I feel [Outgoing Counsel] are abandoning the

 case.” Id. Plaintiff ends his letter by stating, “[a]fter carefully thinking about the progress we have

 made in this case, I would like to discontinue my current legal relationship immediately and have

 accepted legal counsel by Mr. Todd D. Greenberg.” Id.

           That same day, Mr. Greenberg appeared in the case on Plaintiff’s behalf and filed a response

 to the motion to withdraw on behalf of Plaintiff. 4 See Dkt. Nos. 73, 75. In the response, Plaintiff


 3
   Plaintiff emailed a copy of his letter to Chambers on November 25, 2024. Mr. Greenberg subsequently
 filed the letter on the docket on the same day. See Dkt. No. 75-2.
 4
     Attorney Jonathan Isidor Edelstein also appeared on Plaintiff’s behalf. See Dkt. No. 74.

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 indicates that “it is necessary to refute Outgoing Counsel’s defamatory accusation that Mr.

 Greenberg caused the rift between them and Mr. Khan by interfering in the existing attorney-client

 relationship. To the contrary, as set forth in Mr. Greenberg’s annexed declaration, it was Mr. Khan

 who reached out to him because he felt that he was being coerced to accept an inadequate

 settlement offer.” Dkt. No. 75 ¶ 4. Plaintiff indicates that he “does not oppose that part of Outgoing

 Counsel’s motion which is for leave to withdraw,” but he does oppose Outgoing Counsel’s request

 for a retaining lien, claiming that “permitting Outgoing Counsel to retain papers would render it

 difficult or even impossible for incoming counsel to respond to pending motions and/or prepare

 for trial.” Id. ¶ 6. With respect to Outgoing Counsel’s request for a charging lien, Plaintiff argues

 that the Court should defer fixing the amount of the charging lien until the conclusion of this case.

 Id. ¶ 8.

            Defendants take no position on the motion but point out that “a determination of the amount

 of the charging lien is premature at this time since there has not been a resolution in the case.” See

 Dkt. No. 72.

            The Court held a status conference on December 5, 2024, which Plaintiff, Mr. Greenberg,

 Mr. Edelstein, Mr. Morris, and defense counsel attended. See Dec. 5, 2024 Dkt. Entry. The Court

 reserved decision on the motion.




 II.        Discussion

            A.     Motion to Withdraw as Counsel

            Motions to withdraw as counsel are governed by Local Civil Rule 1.4, which states:

                   . . . Whether or not a notice of appearance is filed, an attorney for a
                   party may be relieved or displaced only by order of the court. This

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                order may be issued after the filing of a motion to withdraw, only
                upon a showing by affidavit or otherwise of satisfactory reasons for
                withdrawal or displacement, and the posture of the case, and
                whether or not the attorney is asserting a retaining or charging lien.
                While a motion to withdraw is required when an attorney seeks to
                be relieved, an affidavit is unnecessary if other counsel from the
                same firm, agency, or organization has already entered a notice of
                appearance on behalf of the client and will remain in the case or,
                upon substitution of counsel by stipulation, if the stipulation is also
                signed by the client.

                All motions to withdraw must be served on the client and (unless
                excused by the court) on all other parties. Proof of service on the
                client must be filed on the docket in each case where withdrawal is
                sought.

 Loc. Civ. R. 1.4; see also Schwartz v. AMF Bowling Ctr., Inc., No. 19-CV-7096 (WFK) (JAM),

 2024 WL 3912303, at *3 (E.D.N.Y. Aug. 23, 2024) (applying Local Civil Rule 1.4 to motion to

 withdraw).

        The decision to grant or deny such a motion lies within the Court’s sound discretion. See

 Finkel v. Fraterrelli Brothers, Inc., 05-CV-1551 (ADS) (AKT), 2006 WL 8439497, at *1 (E.D.N.Y.

 Dec. 4, 2006). Courts consider two primary factors: (1) the reasons for withdrawal; and (2) the

 impact of withdrawal on the timing of the case. Marciano v. DCH Auto Grp., No. 11-CV-9635

 (KMK), 2016 WL 11703590, at *1 (S.D.N.Y. Feb. 2, 2016) (explaining that when deciding motions

 to withdraw, district courts consider “the reasons for withdrawal[] and the impact of the withdrawal

 on the timing of the proceeding”); see also Krick v. Raytheon Co., No. 23-CV-8093, 2024 WL

 4441029, at *3 (E.D.N.Y. Oct. 8, 2024), appeal denied, -- F. Supp. 3d -- , 2024 WL 4833685

 (E.D.N.Y. Nov. 20, 2024) (“Prior to deciding the motion to withdraw, this Court considers both

 []the reasons for withdrawal and the impact on the timing of the proceeding.” (citations omitted)).

        In assessing the reasons for withdrawal, courts often refer to the New York Rules of

 Professional Conduct (“NYRPC”), which govern the conduct of attorneys who practice in New



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 York federal courts. See Papadatos v. Home Depot U.S.A, Inc., No. 21-CV-3208 (WFK) (JMW),

 2022 WL 2612353, at *1 n.1 (E.D.N.Y. June 10, 2022) (“The New York Rules of Professional

 Conduct govern the conduct of attorneys in federal courts sitting in New York as well as in New

 York State courts.” (citation omitted)).

        In general, the existence of an irreconcilable conflict, serious disagreements over litigation

 strategy, or a breakdown in communication between attorney and client are satisfactory grounds

 for withdrawal under Local Civil Rule 1.4. See Krick, 2024 WL 4441029, at *4 (“Several courts

 have found that serious disagreements over litigation strategy and a breakdown in communication

 between attorney and client are grounds sufficient for withdrawal.” (citations omitted)); Lan v.

 AOL Time Warner, Inc., No. 11-CV-2870 (LBS) (JCF), 2011 WL 5170311, at *1 (S.D.N.Y. Oct.

 31, 2011) (explaining that “the existence of an irreconcilable conflict between attorney and client

 is a proper basis for the attorney to cease representing his client”). But a client’s “refusal to accept

 a settlement offer is not a sufficient basis for a withdrawal of representation.” Jones v. Parmley,

 714 F. App’x 42, 47 (2d Cir. 2017); see also Marrero v. Christiano, 575 F. Supp. 837, 839 (S.D.N.Y.

 1983) (“Under New York law, the refusal of a client to accept a settlement offer is not good and

 sufficient cause for the withdrawal”); Vaughn v. Am. Tel. & Tel. Co., No. 96-CV-0989 (LAK), 1998

 WL 760230, at *1 (noting that refusal of a client to accept settlement offer “does not amount to

 good cause for withdrawal” without further compelling reasons).

        Here, Outgoing Counsel has demonstrated satisfactory reasons for withdrawal. It is

 undisputed that irreconcilable conflicts have arisen regarding litigation and settlement strategy,

 resulting in a breakdown of the attorney-client relationship. Plaintiff has expressed strong

 dissatisfaction with Outgoing Counsel, claiming that they abandoned his case after he refused to

 accept the Rule 68 offer of judgment. See Dkt. No. 75-2 at 1. Conversely, Outgoing Counsel



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 argues that Plaintiff has “refus[ed] to cooperate and work” with them to “understand[] the Rule 68

 Offer of Judgment by the Defendants and records necessary to substantiate damages.” Dkt. No.

 70 at 13. Outgoing Counsel argues that Plaintiff has replaced them with Mr. Greenberg, whom

 they accuse of interfering with the attorney-client relationship to such a point that they can no

 longer effectively represent Plaintiff’s interests in this case. 5 See id. at 12.

         While the disagreements between Plaintiff and Outgoing Counsel are significant, the

 decision on how to proceed with the case ultimately lies with Plaintiff. See Holcombe v. US

 Airways Grp., Inc., No. 08-CV-1593 (SLT) (JO), 2017 WL 10084142, at *11 (E.D.N.Y. Aug. 4,

 2017) (“the ‘decision of whether to settle’ is the clients’ not the attorneys’” (quoting 22 N.Y.C.C.R.

 § 1210.1)). It is clear from the record that Plaintiff and Outgoing Counsel have an irreconcilable

 conflict over litigation and settlement strategy, which has contributed to the breakdown in the

 attorney-client relationship. Plaintiff has also retained new counsel, further indicating the need for

 Outgoing Counsel to withdraw.

         Accordingly, the Court finds that Outgoing Counsel has presented satisfactory reasons for

 withdrawal under Local Civil Rule 1.4. See Jones v. Parmley, No. 98-CV-0374 (FJS) (TWD),

 2015 WL 13821160, at *6 (N.D.N.Y. Jan. 7, 2015) (granting motion to withdraw “based upon the

 breakdown of the attorney-client relationship and substantial differences of opinion concerning

 trial strategy”), aff’d, 714 F. App’x 42 (2d Cir. 2017); Casper, 1999 WL 335334, at *4 (“[T]he

 existence of an irreconcilable conflict between attorney and client is a proper basis for the attorney

 to cease representing his client.”); see also Joffe v. Javerbaum Wurgaft Hicks Kahn Wikstrom &

 Sinins, P.C., 827 F. App’x 35, 38 (2d Cir. 2020) (affirming decision permitting withdrawal of



 5
  On this point, Outgoing Counsel have made the record clear regarding their concerns, and fundamental
 disagreements with, the advice Plaintiff has purportedly received from Mr. Greenberg about how to proceed
 with this case. Dkt. No. 76 ¶¶ 5-23; see also Dkt. No. 70 at 7-10.

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 counsel where the breakdown of the relationship was not predominantly due to client’s settlement

 position); Schwartz, 2024 WL 3912303, at *4 (granting motion to withdraw where plaintiff

 terminated the attorney-client relationship).

        The Court also finds that withdrawal will not unreasonably delay the progress of this case.

 New counsel has already appeared, and the case remains in the fact discovery phase on Plaintiff’s

 non-Monell claims, with briefing ongoing on Defendants’ motion to dismiss. Any disruption

 caused by Outgoing Counsel’s withdrawal is therefore minimal. See Stair v. Calhoun, 722 F. Supp.

 2d 258, 265 (E.D.N.Y. 2010) (granting withdrawal where “the litigation has only passed the motion

 to dismiss stage); Bueno v. Allcity Med., P.C., No. 22-CV-2216 (JGLC) (KHP), 2023 WL 7001398,

 at *2 (S.D.N.Y. Oct. 17, 2023) (granting withdrawal where discovery has not yet closed and the

 case is not on the verge of trial readiness); Delgado v. Donald J. Trump for President, Inc., No. 19-

 CV-11764 (AT) (KHP), 2023 WL 2975155, at *3 (S.D.N.Y. Mar. 10, 2023) (granting withdrawal

 where case is still in discovery and no trial has been scheduled); Taub v. Arrayit Corp., No. 15-

 CV-1366 (ALC) (JLC), 2016 WL 4146675, at *2 (S.D.N.Y. Aug. 4, 2016) (granting motion to

 withdraw because “this case is not on the verge of trial, and a delay of potential motion practice

 ‘will not disrupt the proceedings to the point where denial would be warranted.’” (citation

 omitted)); S.E.C. v. Gibraltar Glob. Sec., Inc., No. 13-CV-2575 (GBD) (JCF), 2015 WL 2258173,

 at *3 (S.D.N.Y. May 8, 2015) (“In cases where discovery has not yet closed and trial is months

 away, the impact of withdrawal is typically not substantial enough to counsel against it.”).

        Accordingly, the Court GRANTS Outgoing Counsel’s motion to withdraw as Plaintiff’s

 counsel.

        B.      Charging Lien & Retaining Lien




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         Outgoing Counsel also seek a charging lien and retaining lien for work performed and costs

  incurred in handling Plaintiff’s case. See Dkt. No. 70 at 15-21.

                 1.      Charging lien

         “Under New York law, an attorney who is discharged is statutorily entitled to a charging

  lien on any monetary recoveries obtained by the former client in the proceedings in which the

  attorney had rendered legal services.” Naguib v. Pub. Health Sols., No. 12-CV-2561 (ENV) (LB),

  2014 WL 2002824, at *1 (E.D.N.Y. May 15, 2014) (quoting Stair, 722 F. Supp. 2d at 267). The

  lien “attaches to the client’s ultimate recovery in the same case.” Casper, 1999 WL 335334, at *8;

  see LMWT Realty Corp. v. Davis Agency Inc., 85 N.Y.2d 462, 467 (1995) (“[T]he charging lien

  does not merely give an attorney an enforceable right against the property of another, it gives the

  attorney an equitable ownership interest in the client's cause of action.”).

         Specifically, N.Y. Judiciary Law § 475 provides:

             From the commencement of an action . . . the attorney who appears for a party
             has a lien upon his or her client’s cause of action . . . which attaches to a verdict,
             report, determination, decision, award, settlement, judgment or final order in
             his or her client’s favor, and the proceeds thereof in whatever hands they may
             come; and the lien cannot be affected by any settlement between the parties
             before or after judgment, final order or determination. The court upon the
             petition of the client or attorney may determine and enforce the lien.

  N.Y. Judiciary Law § 475.

         To enforce a charging lien, the attorney must have withdrawn with “good cause.” See, e.g.,

  Stair, 722 F. Supp. 2d at 267 (collecting cases); Hallmark Cap. Corp. v. Red Rose Collection, Inc.,

  No. 96-C-V-2839 (RPP) (AJP), 1997 WL 661146, at *3 (S.D.N.Y. Oct. 21, 1997) (“if an attorney

  withdraws without ‘good cause’ or is discharged with ‘good cause,’ he loses his charging lien”);

  Joffe v. King & Spalding LLP, 337 F. Supp. 3d 366, 378 (S.D.N.Y. 2018) (“An attorney who

  himself terminates his representation of a client is still entitled to enforce his charging liens, so



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  long as the attorney does not withdraw without ‘good cause.’”); Antonmarchi v. Consol. Edison

  Co. of N.Y., 678 F. Supp. 2d 235, 241 (S.D.N.Y. 2010) (“It is well-settled that an attorney loses his

  right to enforce a charging lien if the attorney withdraws or is discharged for cause.” (citation

  omitted)); Jones, 2015 WL 13821160 at *9 (“Under New York law, an attorney must have good

  cause to withdraw or the charging lien may be lost.”).

         While Local Civil Rule 1.4 governs withdrawal under a “satisfactory reasons” standard, a

  charging lien under N.Y. Judiciary Law § 475 requires a higher threshold of “good cause.” See

  Hallmark Cap. Corp., 1997 WL 661146, at *3 (“Plaintiff’s new counsel apparently has confused

  the Local Civil Rule 1.4 ‘satisfactory reasons’ standard with the ‘good cause’ standard applicable

  to an attorney's charging lien under New York Judiciary Law § 475.”). Thus, “[w]hile a finding of

  ‘good cause’ for charging lien purposes by definition would include ‘satisfactory reasons’ for

  withdrawal under Local Civil Rule 1.4, the converse is not necessarily true.” Id. For example,

  “while a withdrawal motion may be granted upon a showing of irreconcilable differences between

  attorney and client, ‘[t]he charging lien issue . . . may involve investigation into who caused the

  differences.’” Stinson v. City of New York, No. 18-CV-0027 (LAK) (BCM), 2018 WL 11257424,

  at *3 (S.D.N.Y. Nov. 26, 2018) (quoting Hallmark Cap. Corp., 1997 WL 661146, at *3)).

         Misconduct, negligence, or improper handling of the case may result in forfeiture of the

  lien. See Garcia v. Teitler, No. 04-CV-832 (JG), 2004 WL 1636982, at *5 (E.D.N.Y. July 22, 2004)

  (collecting cases) (explaining that New York courts “have not explicitly defined ‘cause’” in the

  context of charging liens, but “the case law reflects that it means that the attorney has engaged in

  some kind of misconduct, has been unreasonably lax in pursuing the client’s case, or has otherwise

  improperly handled the case”). By contrast, “[w]here an attorney is discharged not because he or

  she neglected to properly represent the client but because of ‘personality conflicts,



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  misunderstandings or differences of opinion having nothing to do with any impropriety by . . . the

  lawyer,’ the discharge is not ‘for cause’ and the attorney does not forfeit his or her fee.” Gurry v.

  Glaxo Wellcome, Inc., No. 98-CV-6243 (DC), 2000 WL 1702028, at *2 (S.D.N.Y. Nov. 14, 2000)

  (quoting Klein v. Eubank, 640 N.Y.S.2d 443, 445 (1996)).

         Here, Outgoing Counsel assert that Plaintiff failed to cooperate, rejected their advice on

  litigation strategy, and replaced them with new counsel, rending their continued representation of

  Plaintiff unreasonably difficult. Plaintiff, however, asserts that Outgoing Counsel improperly

  pressured him to accept the Rule 68 offer of judgment and “abandoned” his case when he refused.

  While attorneys are permitted to advise clients on settlement strategy, the ultimate decision to settle

  rests with the client, and an attorney’s interference with that decision “can constitute misconduct

  sufficient to warrant discharge for cause and forfeiture of counsel’s fee.” Stinson, 2018 WL

  11257424 at *4 (quoting Holcombe v. US Airways Grp., Inc., No. 08-CV-1593 (SLT) (JO), 2017

  WL 1184104, at *4 (E.D.N.Y. Mar. 29, 2017), aff’d sub nom. Holcombe v. Matsiborchuk, 747 F.

  App’x 875 (2d Cir. 2018)). Thus, if Outgoing Counsel’s actions constituted undue interference

  with Plaintiff’s settlement decision, these actions would undermine their claim to a charging lien.

  See Holcombe, 2017 WL 1184104, at *7 (extinguishing charging lien where attorney threatened to

  abandon the case unless client ceded settlement control); see also Stinson¸ 2018 WL 11257424 at

  *5 (discussing Holcombe and holding that outgoing counsel forfeited right to charging lien where

  emails established “that the attorney-client relationship broke down, in substantial part” because

  counsel informed plaintiff that they would withdraw from representation if she did not accept the

  court’s settlement recommendation).

         While the Court has already determined that Outgoing Counsel has demonstrated

  satisfactory reasons for withdrawal under Local Civil Rule 1.4, the Court cannot determine, based



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  on the current record, whether Outgoing Counsel’s withdrawal was motivated by improper conduct

  or interference with Plaintiff’s right to settle, or if the irreconcilable conflict stems from a

  fundamental disagreement over the merits of the Rule 68 offer and Plaintiff’s broader litigation

  strategy. The resolution of this issue will therefore require additional investigation and a hearing.

  See Jones v. Parmley, No. 98-CV-0374 (FJS) (TWD), 2015 WL 13821160, at *9 (N.D.N.Y. Jan. 7,

  2015) (granting motion to withdraw but “choos[ing] not to exercise jurisdiction over the charging

  lien issue” because “resolving a charging lien issue may involve more of an investigation into who

  caused the differences between attorney and client, what may be considered a reasonable fee, and

  may require a ‘trial-like hearing’ to resolve”), aff’d, 714 F. App’x 42 (2d Cir. 2017); Ross v. Mitsui

  Fudosan, Inc., No. 97-CV-0975 (PKL) (RLE), 1999 WL 799534, at *2 (S.D.N.Y. Sept.1, 1999)

  (“Where the parties dispute whether the client dismissed the attorney for cause, and the value of

  the work performed, an evidentiary hearing is necessary to ‘determine[] whether or not the attorney

  has so conducted [her]self in [her] professional obligations or employment as to deprive [her] of

  any recovery.’”).

         At this stage of the litigation, however, it is premature for the Court to hold such a hearing.

  It would be an inefficient use of judicial resources for the Court and the parties to be side-tracked

  with this ancillary fee-related issue, particularly when a determination in Outgoing Counsel’s favor

  would require the Court to resolve the corollary issue of the reasonable value of Outgoing

  Counsel’s services. The more prudent path forward is for the Court to hold a hearing at the

  conclusion of this litigation to determine whether Outgoing Counsel was discharged for cause, and

  if not, the amount of fees in quantum meruit. See Universal Acupuncture Pain Servs., P.C., 370

  F.3d at 263 (holding that the district court did not abuse its discretion by waiting until the

  conclusion of the underlying litigation to determine whether outgoing counsel was discharged for



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  cause, and if not, the amount of fees in quantum meruit); Holcombre v. U.S. Airways Grp., Inc.,

  No. 03-CV-4785 SLT JMA, 2014 WL 4907141, at *1 (E.D.N.Y. Sept. 30, 2014) (denying request

  for a charging lien “without prejudice to renew after the conclusion of the litigation”); see also

  Schwartz, 2024 WL 3912303, at *5 (deferring calculating value of lien until conclusion of case).

         The Court recognizes Outgoing Counsel’s interest in securing their right to recover fees;

  however, deferring the determination of the charging lien until the conclusion of this litigation

  does not unfairly prejudice their position. Case law makes clear that an attorney’s charging lien is

  not automatically forfeited unless the attorney has “without just cause[,] neglect[ed], or refuse[d]

  to proceed with the prosecution of the case.’” Hampshire Grp. Ltd. v. Scott James Co., No. 14-

  CV-2637 (JGK) (MHD), 2015 WL 5306232, at *6 (S.D.N.Y. July 27, 2015) (quoting Koury v.

  United Tribes of Afr. News, Inc., No. 02-CV-0023 (GWG), 2003 WL 21279441, at *2 (S.D.N.Y.

  June 4, 2003)). At this juncture, the Court has reserved the issue of whether Outgoing Counsel’s

  withdrawal constitutes “good cause” under Judiciary Law § 475. Consequently, Outgoing Counsel

  retains their right to seek appropriate compensation for services rendered, and the deferment of the

  charging lien determination merely postpones, rather than extinguishes, their opportunity for relief.

  See id.; see also Shalom Toy, Inc. v. Each And Every One of the Members of the New York Prop.

  Ins. Underwriting Ass’n, 239 A.D.2d 196, 198 (1st Dep’t 1997) (“[U]nless the representation

  terminates as a result of attorney misconduct, discharge for cause, or unjustified abandonment by

  the attorney, the attorney's right to compensation is preserved.”).

         Accordingly, Outgoing Counsel’s request to affix a charging lien is denied without

  prejudice to renew at the conclusion of this litigation.

                 2.      Retaining lien




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           A retaining lien is a “security interest,” arising under state common law, in “all client papers

  and property, including money, that come into the attorney’s possession in the course of

  employment.” Resol. Tr. Corp. v. Elman, 949 F.2d 624, 626 (2d Cir. 1991). The lien permits an

  attorney to keep all such client property “as security against payment of fees . . . unless the attorney

  is discharged for good cause.” Id. (citing People v. Keeffe, 50 N.Y.2d 149, 155-56 (1980)); accord

  Pomerantz v. Schandler, 704 F.2d 681, 683 (2d Cir. 1983) (citing In re San Juan Gold Inc., 96 F.2d

  60 (2d Cir. 1938)).

           Here, Outgoing Counsel’s request for a retaining lien is denied as moot because, as

  discussed on the record at the December 5, 2024 conference, defense counsel has agreed to provide

  Mr. Greenberg and Mr. Edelstein Bates-stamped copies of the documents produced during

  discovery.

  III.     Conclusion

           For the reasons stated above, the portion of Outgoing Counsel’s motion that seeks to

  withdraw as counsel for Plaintiff is GRANTED, the portion of the motion that seeks to affix a

  charging lien is denied without prejudice to renew at the conclusion of the litigation, and the

  portion of the motion that seeks to affix a retaining lien is DENIED as moot. The Clerk of Court

  is directed to terminate Mr. Morris and Mr. Yannacone, Jr. from this case.

  Dated:           Brooklyn, New York                      SO ORDERED.
                   December 7, 2024
                                                            /s/ Joseph A. Marutollo
                                                           JOSEPH A. MARUTOLLO
                                                           United States Magistrate Judge




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